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         Exhibit 26
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA



JANE DOE #1, et al.,                            )
                                                )
       Plaintiffs,                              )
                                                )
               v.                               ) No. 3:21-cv-01211
                                                )
LLOYD AUSTIN, III, in his official              )
capacity as Secretary of Defense, et al.,       )
                                                )
       Defendants.                              )
                                                )




                      DECLARATION OF LT COL SARAH J. BREHM
                            [with regard to John Doe #10]

I, Sarah J. Brehm, hereby state and declare as follows:

1.     I am a Lieutenant Colonel in the United States Air Force currently assigned as the

commander of the 34th Special Operations Squadron at Hurlburt Field, Florida. I have been in

this position since December 20, 2019. I lead a squadron of 114 active duty, contractor, and

civilian members and am responsible for the mission, welfare, and discipline of the organization.

The 34th Special Operations Squadron’s mission is to fly the U-28A and provide a manned,

fixed-wing, on-call/surge capability for improved tactical airborne intelligence, surveillance, and

reconnaissance in support of special operations forces. Members of my squadron are required to

maintain global readiness in order to support enduring and emerging contingency operations

around the world. Aircrew members work in close proximity to one another in situations such as

mission planning, briefings, in the aircraft simulator, and in the actual aircraft. Mission success

depends on aircrew members remaining healthy and ready to deploy. Members who test positive
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for COVID-19 miss critical training, pose a threat to other unit members, and may be restricted

from travel and deployment.

2.      I make this declaration in my official capacity as the commander and based upon my

personal knowledge and upon information that has been provided to me in the course of my

official duties.

3.      I know the identity of John Doe #10. He is a Captain in the 34th Special Operations

Squadron and I can provide John Doe #10’s name if required, consistent with the protective

order in place in this case. As part of my duties, I am in the supervisory chain of John Doe #10,

who is a U-28A basic aircraft commander and serves in my awards and decorations section.

During the fall of 2020 and in the weeks leading up to my squadron’s unit deployment, John Doe

#10 tested positive for the coronavirus. The member subsequently was placed on quarters and

missed some of the squadron’s final pre-deployment preparations. Due to numerous health-

related restrictions at each of my squadron’s deployed locations, John Doe #10 required a waiver

to deploy following his positive coronavirus case and a negative test result before he could

depart. John Doe #10 continued to test positive for the coronavirus for nearly two months

following his initial positive test and subsequently missed our unit’s scheduled deployment

departure. Once he had a negative test result, he was able to deploy and join our unit downrange

in late December 2020 to early January 2021 (about one month late).

4.      Throughout 2021 the Department of Defense issued numerous guidance documents

related to mitigating the effects of COVID-19 and the virus’ continued spread. I briefed my

squadron on a regular basis in-person, via email and a messaging application, Signal, and

through a COVID-19 information bulletin board on the impacts of the virus on our ability to

conduct our mission. Once COVID-19 vaccines were approved under the FDA’s emergency use




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authorization and vaccines were available to military members, I encouraged members of my

unit to consider voluntarily getting the vaccine.

5.     On August 24, 2021, the Secretary of Defense issued a mandate for all members of the

Armed Forces under Department of Defense (DoD) authority on active duty to receive the

COVID-19 vaccine. Subsequently, on September 3, 2021, the Department of the Air Force

issued additional guidance with specific timelines for Air Force members to comply. On

September 8, 2021, I issued John Doe #10 a written order to receive the COVID-19 vaccine.

The lawful order outlined the Department of Defense mandate and specific timelines to be in

compliance whether through getting the vaccine, refusing the vaccine, or pursuing a medical or

religious exemption from the vaccine.

6.     John Doe #10 acknowledged my order on September 10, 2021, and notified me on

September 15, 2021 that he intended to pursue a medical exemption from the vaccine. He met

with his medical provider on September 16, 2021. On September 17, 2021, I was notified by the

1st Special Operations Group Chief of Medical Staff, Lt Col Michael Zeola, that John Doe #10

did not meet the criteria for medical exemption. I spoke with John Doe #10 in my office on

September 17, 2021, to make sure he understood the medical exemption did not get approved

and I asked him what he intended to do.

7.     On September 22, 2021 I received a COVID-19 vaccine religious exemption request

from John Doe #10 via email. I counseled John Doe #10 in my office on September 23, 2021, to

discuss his religious exemption memorandum. I briefed the member, in accordance with

Department of the Air Force Instruction 52-201, paragraph 6.6.1.1., that non-compliance with

immunization requirements may adversely affect readiness for deployment, assignment,

domestic and international travel, or may result in other administrative consequences. John Doe




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#10 expressed to me his strong desire to upgrade to U-28A mission aircraft commander and to

deploy with our squadron in 2022 in that crew position. I counseled John Doe #10 that if he does

not receive the COVID-19 vaccine that he will be unable to deploy due to theater health

requirements and the safety of other members of the unit. Our unit has deployed commitments

in the Central Command and Africa Command area of responsibility. The geographic combatant

commanders have frequently changing guidance related to vaccination requirements for

deployment.

8.     In the weeks since I met with John Doe #10 he has provided me with the required

documentation as part of the religious accommodation package. As of October 14, 2021 John

Doe #10’s religious accommodation package is with the Hurlburt Field Religious Resolution

Team for review prior to being staffed to the chain of command for consideration. No

administrative or disciplinary action has been taken against John Doe #10 and he is temporarily

exempt from the immunization requirement while the religious accommodation request is

pending. John Doe #10 previously received all other mandatory vaccines and had maintained

vaccination readiness.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct. Executed this 20th day of October 2021.




                                             SARAH J. BREHM, Lt Col, USAF
                                             Commander, 34th Special Operations Squadron




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